                Case 5:21-cv-00844-XR Document 441-1 Filed 06/30/22 Page 1 of 1

                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                 SAN ANTONIO DIVISION


La Union Del Pueblo Entero, et al.,

YV                                                                         &DVH1R 5:21-CV-00844-XR
Gregory W. Abbott, et al.



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                                 Daniela Lorenzo
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 See attached
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 Daniela Lorenzo                                                                          See attached
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                                                        July                                                        22
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                                                                            Please Choose Judge
